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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                           )   Chapter 11
                                                                     )
    Hartman SPE, LLC,                                                )   Case No. 23-11452 (MFW)
                                                                     )
                   Debtor.1                                          )   Ref. Docket No. 68-71

                                     CERTIFICATE OF SERVICE

I, NADIA ALAZRI, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. On September 25, 2023, I caused to be served the:

       a. “Order Granting Debtors’ Motion to Shorten Notice Regarding Sale Motions and
          Granting Other Related Relief,” dated September 25, 2023 [Docket No. 68], (the
          “Shorten Order”),

       b. “Order Granting Debtors’ Motion to Shorten Notice Regarding Sale Motions And
          Granting Other Related Relief,” dated September 25, 2023 [Docket No. 69], (the
          “Walzem Shorten Order”),

       c. “Notice of Motions and Hearing Regarding Debtor’s Sale Motions,” dated September
          25, 2023 [Docket No. 70], (the “Sale Hearing Notice”),

       d. “Notice of Motion and Hearing Regarding Debtor’s Motion for Entry of an Order (I)
          Authorizing the Private Sale of Certain Nonresidential Real Property Free and Clear
          of all Liens, Claims, Encumbrances, and Other Interests (II) Authorizing the
          Assumption and Assignment of Executory Contracts and Unexpired Leases of
          Nonresidential Real Property; and (III) Granting Related Relief,” dated September
          25, 2023 [Docket No. 71], (the “Walzem Hearing Notice”), and

       e. “Adequate Assurance Letter,” (the “Letter”), a copy of which is annexed hereto as
          Exhibit A,



1
  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is Hartman SPE, LLC (7400). The Debtor’s principal place of business and service address is 2909 Hillcroft, Suite
420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the United States Bankruptcy
Court for the District of Delaware www.deb.uscourts.gov or from the Debtor’s Claim Agent’s website
https://dm.epiq11.com/HartmanSPE.
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by causing true and correct copies of the:

        i. Shorten Order, Walzem Shorten Order, Sale Hearing Notice, and Walzem Hearing
           Notice to be enclosed securely in separate postage pre-paid envelopes and
           delivered via overnight mail to those parties listed on the annexed Exhibit B,

       ii. Shorten Order and Sale Hearing Notice to be enclosed securely in separate postage
           pre-paid envelopes and delivered via overnight mail to those parties listed on the
           annexed Exhibit C,

      iii. Walzem Shorten Order and Walzem Hearing Notice to be enclosed securely in
           separate postage pre-paid envelopes and delivered via overnight mail to those parties
           listed on the annexed Exhibit D,

      iv. Walzem Shorten Order, Walzem Hearing Notice, and Letter to be enclosed
          securely in separate postage pre-paid envelopes and delivered via overnight mail to
          those parties listed on the annexed Exhibit E,

       v. Shorten Order, Walzem Shorten Order, Sale Hearing Notice, and Walzem Hearing
          Notice to be delivered via electronic mail to those parties listed on the annexed
          Exhibit F,

      vi. Shorten Order and Sale Hearing Notice to be delivered via electronic mail to those
          parties listed on the annexed Exhibit G,

      vii. Walzem Shorten Order, Walzem Hearing Notice, and Letter to be delivered via
           electronic mail to those parties listed on the annexed Exhibit H, and

     viii. Shorten Order, Walzem Shorten Order, Sale Hearing Notice, and Walzem Hearing
           Notice to be delivered via electronic mail to: tom@lightsey.legal.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                     /s/ Nadia Alazri
                                                                     Nadia Alazri
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                                    In re Hartman SPE, LLC
                                   Case No. 23-11452 (MFW)
                     Evidence of Adequate Assurance of Future Performance

Subject to receiving Court approval, AP Growth Properties, LP (“Buyer” or “we”) will be
purchasing the real property commonly known as Walzem Plaza located at 5322-5496 Walzem
Road, San Antonio, Texas (the “Property”) and currently intends to take assignment of the
executory contracts and unexpired leases of nonresidential real property for the commercial tenants
located at the Property (the “Assigned Contracts”).
Buyer, a Texas limited partnership, is an affiliate of MIMCO, LLC (“Mimco”), which was founded
in 1972 to provide real estate investment opportunities and commercial property management.
Today, Mimco manages over 350 separate commercial properties in Texas (including multiple
properties in San Antonio), New Mexico and Arizona, encompassing more than 8.5 million square
feet and approximately 1,900 leases. Since its formation, Mimco has closed hundreds of
acquisitions and has never failed to close or “walked” a deal after it has “gone firm”.
Buyer was formed for purposes of acquiring commercial, retail properties such as the Property.
Buyer has already secured necessary financing and accumulated the necessary additional funds to
pay the purchase price.
Independent of the acquisition of the Property, Buyer’s net operating income is approximately
$300,000.00 per month, with only $120,000.00 per month in debt service. This results in a debt
service coverage ratio of 2.5:1. Without including any income from the Property, Buyer’s existing
cash flow of $180,000.00 per month is more than sufficient to not only pay its debt service
(including the new loan for the acquisition loan for the Property), but also to service all landlord
financial obligations arising under the Property’s tenant leases, as well as addressing a number of
deferred maintenance items identified by Buyer.
After acquisition, management of the Property will be the responsibility of Mimco. Mimco prides
itself on its long, fruitful relationships with its tenant, as well as ensuring that its properties are
well maintained and that its property management team is responsive to tenants’ needs. A few
examples of Mimco’s long relationships are Subway, Wells Fargo, Family Dollar/Dollar Tree,
dd’s/Ross, Big Lots, Whataburger, and Starbucks.
If you have any questions regarding this information, please contact:
               Robert R. Feuille
               ScottHulse, PC
               201 E. Main Drive, Suite 1100
               El Paso, Texas 79901
               (915) 533-2493
               (915) 546-8333
               bfeu@scotthulse.com
               Counsel for AP Growth Properties, LP
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                    EXHIBIT B
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Claim Name                            Address Information
4M BUILDING SOLUTIONS INC             TIM M. MURCH 6231 RAYTOWN RD. RAYTOWN MO 64133
4M BUILDING SOLUTIONS INC             TIM M. MURCH PO BOX 870784 KANSAS CITY MO 64187-0784
ABERNATHY ROEDER BOYD & HULLET, PC    COUNSEL TO COLLIN COUNTY TAX A/C ATTN PM LOPEZ, L R BOYD, E M HAHN 1700 REDBUD
                                      BLVD., STE. 300 MCKINNEY TX 75069
ALL TEX ROOFING LLC                   STEPHAN BUYAJIAN, OWNER 5605 CREEKMONT DR HOUSTON TX 77091-4916
AMAYA CONSTRUCTION INC                VICENTE AMAYA 9507 DEEP VALLEY DRIVE HOUSTON TX 77044
AMITY CONSTRUCTION COMPANY            ROBERY ELLERD 1404 BROOKSIDE DRIVE CARROLLTON TX 75007
AMTECH ELEVATOR SERVICES              COUNSEL P.O. BOX 730437 DALLAS TX 75373-0437
AMTECH ELEVATOR SERVICES              COUNSEL 1289 N. POST OAK RD. HOUSTON TX 77055
AVAIL SECURITY GROUP, LLC             JAMIE MANNING 11811 N FREEWAY SUITE 301 HOUSTON TX 77060
BUSINESS FLOOR SOLUTIONS INC          MATTHEW MARTINEZ 5805 CENTRALCREST HOUSTON TX 77092
CFI MECHANICAL, INC.                  CHUCK FELL 6109 BRITTMOORE ROAD HOUSTON TX 77041
CRE GROUP, LLC DBA CAPROCK ELECTRIC   TRACY LOVOI 900 HOGAN STREET HOUSTON TX 77009
DELAWARE DEPARTMENT OF JUSTICE        OFFICE OF THE ATTORNEY GENERAL CARVEL STATE BUILDING 820 N. FRENCH STREET
                                      WILMINGTON DE 19801
DELAWARE STATE TREASURY               820 SILVER LAKE BLVD., SUITE 100 DOVER DE 19904
EASTERN DISTRICT OF TEXAS             BRIT FEATHERSON 550 FANNIN, STE 1250 BEAUMONT TX 77701
ENGIE RESOURCES LLC                   RAY CUNNINGHAM, VP PO BOX 841680 DALLAS TX 75284-1680
ENGIE RESOURCES LLC                   RAY CUNNINGHAM, VP 1360 POST OAK BLVD, SUITE 400 HOUSTON TX 77056
FERGUSON BRASWELL FRAZER KUBASTA PC   COUNSEL TO SUMMER ENERGY LLC ATTN: RACHAEL L. SMILEY 2500 DALLAS PKWY., STE.
                                      600 PLANO TX 75093
GOLDMAN SACHS                         DAVID SOLOMON 2001 ROSS AVENUE, 31TH FLOOR DALLAS TX 75201
INTERNAL REVENUE SERVICE              P.O. BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE              1111 CONSTITUTION AVE, NW WASHINGTON DC 20220-0001
IRON HORSE FL LLC DBA PDL DESIGNS     LEON DAGERMAN, PRESIDENT 2545 GOLDEN BEAR DRIVE CARROLLTON TX 75006
KAJ CONSTRUCTION INC                  14237 E. SAM HOUSTON PKWY N # 200 PO BOX 211 HOUSTON TX 77044
KAJ CONSTRUCTION INC                  COUNSEL 9503 DEEP VALLEY DR. HOUSTON TX 77044
LINEBARGER GOGGAN BLAIR & SAMPSON     COUNSEL FOR TARRANT & DALLAS CTIES ATTN JOHN KENDRICK TURNER 2777 N. STEMMONS
                                      FREEWAY, STE 1000 DALLAS TX 75207
LINEBARGER GOGGAN BLAIR & SAMPSON     COUNSEL TO BEXAR COUNTY ATTN: DON STECKER 112 E. PECAN ST., STE. 2200 SAN
                                      ANTONIO TX 78205
LINEBARGER GOGGAN BLAIR SAMPSON       COUNSEL TO KATY ISD, ET AL. ATTN: TARA L. GRUNDEMEIER PO BOX 3064 HOUSTON TX
                                      77253-3064
LONGHORN MECHANICAL LLC               DENIEL PEREZ PO BOX 909 VAN ALSTYNE TX 75495
LONGHORN MECHANICAL LLC               DENIEL PEREZ 198 ECHOLS ST. VANALSTYNE TX 75495
MATTHEW MASHBURN                      ADDRESS ON FILE
MATTHEW MASHBURN                      ADDRESS ON FILE
MIKES AC AND REFRIGERATION            MIKE TU, OWNER 11015 BISSONNET HOUSTON TX 77099
NORTHERN DISTRICT OF TEXAS            LEIGHA SIMONTON 1100 COMMERCE ST, THIRD FL DALLAS TX 75242-1699
NRG ENERGY INC DBA RELIANT RETAIL     MAURICO GUTIERREZ, CEO PO BOX 650475 DALLAS TX 75265
NRG ENERGY INC DBA RELIANT RETAIL     MAURICO GUTIERREZ, CEO 910 LOUISIANA ST. STE B200 HOUSTON TX 77002
OFFICE OF THE UNITED STATES TRUSTEE   DISTRICT OF DELAWARE JOHN SCHANNE 844 KING ST, STE 2207, LOCKBOX 35 WILMINGTON
                                      DE 19801
OFFICE OF THE US ATTORNEY             DISTRICT OF DELAWARE HERCULES BUILDING 1313 N. MARKET STREET, SUITE 400
                                      WILMINGTON DE 19801
OGH SERVICE COMPANY INC               VINCE BALUSEK, PRESIDENT 402 4TH ST. SEALY TX 77474
OTIS ELEVATOR COMPANY                 JUDY MARKS 1444 N. CROCKWELL HILL RD. STE. 102 DALLAS TX 75211
OTIS ELEVATOR COMPANY                 JUDY MARKS P.O. BOX 730400 DALLAS TX 75373-0400
PERDUE BRANDON FIELDER COLLINS        COUNSEL TO RICHARDSON ISD C/O EBONY COBB 500 E. BORDER ST., STE. 640 ARLINGTON
                                      TX 76010
POLSINELLI                            (COUNSEL TO KEYBANK) ATTN CHRISTOPHER A. WARD 222 DELAWARE AVE, SUITE 1101


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POLSINELLI                            WILMINGTON DE 19801
POLSINELLI                            (COUNSEL TO KEYBANK) ATTN DAVID D. FERGUSON 900 W 48TH PL, SUITE 900 KANSAS
                                      CITY MO 64112
PRECISION CONTRACTING                 JOSEPH BENJAMIN DUBBELS 931 BASSE RD SAN ANTONIO TX 78212
PRITCHARD INDUSTRIES SOUTHWEST, LLC   ERIN MEEHAN, CEO 4040 DIRECTORS ROW HOUSTON TX 77092
PROMISE TOTAL SERVICES OF HOUSTON     HELEN YOO PO BOX 29789 DALLAS TX 75229
PROMISE TOTAL SERVICES OF HOUSTON     HELEN YOO 161 TX-8 BELTWAY HOUSTON TX 77043
RL TEAM CONTR DBA TEAM CONT           COUNSEL 3201 INTERSTATE 30 STE F MESQUITE TX 75150
ROBINSON & COLE LLP                   COUNSEL TO SUMMER ENERGY, LLC ATTN J. EDMONSON, K dUTE 1201 N. MARKET ST.,
                                      STE. 1406 WILMINGTON DE 19801
SECRETARY OF STATE/DIV OF REVENUE     DIV OF CORPORATIONS; FRANCHISE TAX JOHN G TOWNSEND BLDG 401 FEDERAL ST, STE 4
                                      DOVER DE 19901
SECRETARY OF STATE/DIV OF REVENUE     DIVISION OF CORPORATIONS FRANCHISE TAX P.O. BOX 898 DOVER DE 19903
SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI REG DIRECTOR BROOKFIELD PLACE
                                      200 VESEY ST 400 NEW YORK NY 10281-1022
SECURITIES & EXCHANGE COMMISSION      100 F STREET, NE WASHINGTON DC 20549
SERVICE FIRST JANITORIAL LLC          COUNSEL 2418 CONVERSE ST. DALLAS TX 75207
SERVICE FIRST JANITORIAL LLC          COUNSEL PO BOX 600550 DALLAS TX 75360
STI-GC, LLC                           COUNSEL 931 BASSE RD SAN ANTONIO TX 78212
SUMMER ENERGY LLC                     NEIL LEIBMAN, CEO PO BOX 660938 DALLAS TX 75266-0938
SUMMER ENERGY LLC                     NEIL LEIBMAN, CEO 5847 SAN FELIPE ST. 3700 HOUSTON TX 77057
SUNDOWN COMMERCIAL SERVICES           JACK RYERS P.O. BOX 1769 FORNEY TX 75126
SUNDOWN COMMERCIAL SERVICES           JACK RYERS 14802 VALLEY VIEW FORNEY TX 75126-5830
THE UNITED STATES ATTORNEYS OFFICE    FOR THE SOUTHERN DISTRICT OF TEXAS ATTN: ALAMDAR HAMDANI 1000 LOUISIANA ST
                                      HOUSTON TX 77002
TRUE VINES INC                        DEBORAH LAMBERT WATTS 6140 HIGHWAY 6 SUITE 213 MISSOURI CITY TX 77459
VERSATEX COMMERCIAL SERVICES, LLC     LEO GOMEZ, MANAGER 827 BUTTERFLY GARDEN TRAIL RICHMOND TX 77406
WEAVER AND TIDWELL LLP                BRAD JAY 2821 WEST 7TH STREET, SUITE 700 FORT WORTH TX 76107
WESTERN DISTRICT OF TEXAS             JAIME ESPARZA US ATTORNEYS OFFICE 601 NW LOOP 410, STE 600 SAN ANTONIO TX
                                      78216




                               Total Creditor count 65




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AFP ALARM & DETECTION, LP             ATTN: MICHAEL BILSKI 2003 MYKAWA PEARLAND TX 77581
AGAVE PLUMBING, INC                   ATTN: JULIO MEDINA 2772 WEST COMMERCE STREET DALLAS TX 75212
ALLEN R. HARTMAN                      C/O LAW OFFICE OF THOMAS N. LIGHTSEY III, P.C. 5151 SAN FELIPE, SUITE 400
                                      HOUSTON TX 77056
ALLIED FIRE PROTECTION-SA, LP         ATTN: MICHAEL BILSKI 2003 MYKAWA PEARLAND TX 77581
AMITY CONSTRUCTION COMPANY            ATTN: BOB ELLERD 1404 BROOKSIDE CAROLLTON TX 75007
AMITY CONSTRUCTION COMPANY            C/O M. DREW SIEGEL 17330 PRESTON RD., STE 11 OB DALLAS TX 75252
BEYER PLUMBING CO.                    ATTN: JAMES BEYER 17197 BEYER JOHN DR. SELMA TX 78514
BLUE HAWK CONSTRUCTION LLC            ATTN: BRYAN BENSON 6775 ADDISON ROAD, SUITE 305 ADDISON TX 75001
CFI MECHANICAL &SCG MECHANICAL, LP    DBA WAY MECHANICAL C/O WILLIAM B. WESTCOTT 1885 SAINT JAMES PLACE, 15TH FL
                                      HOUSTON TX 77056
CRAWFORD ELECTRIC SUPPLY CO, INC.     ATTN: ERIC HOLLY 7701 WEST LITTLE YORK, SUITE 800 HOUSTON TX 77040
DYNAMIC MECHANICAL SOLUTIONS          ATTN: MATTHEW MASHBURN 2023 E. SHADY GROVE ROAD SUITE 5 IRVING TX 75060
EAST WEST BANK                        9090 KATY FWY. 3RD FL. ATTN JIA LI, AVP HOUSTON TX 77024
EAST WEST BANK                        9090 KATY FWY. 3RD FL. ATTN MARIA ISENHOWER HOUSTON TX 77024
ECOSYSTEMS ENVIRONMENTAL              C/O MICHAEL P. WORTHAM CBS TELEVISION TOWER 12001 N. CENTRAL EXPY., STE. 650
                                      DALLAS TX 75243
FAT STRAWS, INC.                      6509 WEST PARK BOULEVARD 425 PLANO TX 75093
GOLDMAN SACHS MORTGAGE COMPANY        200 WEST STREETNEW YORK, NY 10282 NEW YORK NY 10282
HARTMAN INCOME REIT                   PROPERTY HOLDINGS, LLC 2909 HILLCROFT, SUITE 420 HOUSTON TX 77057
HARTMAN INCOME REIT, INC.             2909 HILLCROFT SUITE 420 HOUSTON TX 77057
HARTMAN RETAIL I, DST                 2909 HILLCROFT SUITE 420 HOUSTON TX 77057
HARTMAN V REIT XXI, INC.              C/O LAW OFFICE OF THOMAS N. LIGHTSEY III, P.C. 5151 SAN FELIPE, SUITE 400
                                      HOUSTON TX 77056
HARTMAN V REIT XXI, INC.              11211 KATY FREEWAY SUITE 309 HOUSTON TX 77079
HARTMAN XXI ADVISORS, LLC             2909 HILLCROFT SUITE 420 HOUSTON TX 77057
JEANICE TOLLIVER                      MLF LEGAL, PLLC L. BENJAMIN, A LAMB, JR. & D MORRIS 702 S. BECKLEY AVE. DALLAS
                                      TX 75203
KEYBANK NA (AGENT)                    KAREN WHITE, PORTFOLIO MANAGER 11501 OUTLOOK STREET SUITE 300 SUITE 300
                                      OVERLAND PARK KS 66211
KEYBANK NA (AGENT)                    MICHAEL A TILDEN, SR MANAGER 11501 OUTLOOK STREET SUITE 300 SUITE 300 OVERLAND
                                      PARK KS 66211
KEYBANK NA (AGENT)                    TERESA SPRINKLE SR ACCOUNT MANAGER 11501 OUTLOOK STREET SUITE 300 SUITE 300
                                      OVERLAND PARK KS 66211
MATTHEW MASHBURN                      ADDRESS ON FILE
PERFECT SCENTS OF TEXAS               2313 LOCKHILL SELMA, STE. 112 SAN ANTONIO TX 78230
PRECISION GENERAL CONTRACTING, LLC    ATTN: JOE DUBBELS 931 BASSE ROAD SAN ANTONIO TX 78212
PRECISION GENERAL CONTRACTING, LLC    C/O J. PHILIP COLLIER 8023 VANTAGE DRIVE, SUITE 590 SAN ANTONIO TX 78230
PRESTONWOOD LANDSCAPE SERV-SA, LLC    1366 ROUND TABLE DRIVE DALLAS TX 75247
RUBI LERMA                            C/O BRUCE H. NEYLAND 14350 NORTHBROOK DR., STE 150 SAN ANTONIO TX 78232
SAN ANTONIO BUILDING SERVICES         2313 LOCKHILL SELMA, STE. 112 SAN ANTONIO TX 78230
SILVER STAR PROPERTIES REIT, INC.     2909 HILLCROFT SUITE 420 HOUSTON TX 77057
SILVER STAR PROPERTY MANAGE INC       2909 HILLCROFT SUITE 420 HOUSTON TX 77057
STI-GC, LLC                           C/O J. PHILIP COLLIER 8023 VANTAGE DRIVE, SUITE 590 SAN ANTONIO TX 78230
SWADLEY ROOF SYSTEMS, LLC             ATTN: MICHAEL SWADLEY 17413 FM 2920 SUITE O TOMBALL TX 77377
TAYLOR WATERPROOFING PLUS, INC.       ATTN: MICHAEL J. MATTHEWS 122 BERRY ROAD HOUSTON TX 77022
TEXAS CAPITAL BANK                    1330 POST OAK BLVD. STE 1700 ATTN SCOTT E SKRABANEK HOUSTON TX 77056
TEXAS CAPITAL BANK                    1330 POST OAK BLVD. STE 1700 ATTN MISSY MERIC, AVP HOUSTON TX 77056
TEXAS PARKING LOTS                    231 HWY 46 W BOERNE TX 78006
TEXAS SECURITY BANK                   1212 TURTLE CREEK BOULEVARD DALLAS TX 75207



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US BANK NATIONAL ASSCN, TTEE FOR      HLDRS GSMRTG SECS CORP TR 2018HART PSSTHRU CERTS2018HART& RR INT OWNR 190 S
                                      LASALLE ST 7TH FL CHICAGO IL 60603
WELLS FARGO BANK                      1901 HARRISON ST 2ND FL ATTN JILL SELDEN, VP OAKLAND CA 94612




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ALAMO COMM. COLLEGE                    2222 N. ALAMO ST. SAN ANTONIO TX 78215
BEXAR CO RD & FLOOD                    1948 PROBANDT ST SAN ANTONIO TX 78214
BEXAR CO. FLOOD FUND                   1948 PROBANDT ST SAN ANTONIO TX 78214
BEXAR CO. HOSP. DISTRICT               100 DOLOROSA SAN ANTONIO TX 78205
BEXAR COUNTY TAX OFFICE                VISTA VERDE PLAZA BUILDING 233 N. PECOS LA TRINIDAD SAN ANTONIO TX 78207
BEXAR COUNTY TAX OFFICE                PO BOX 839950 SAN ANTONIO TX 78283
CITY OF HOUSTON                        CITY OF HOUSTON TAX ASSESSOR-COLLECTOR 901 BAGBY ST. HOUSTON TX 77002
CITY OF SAN ANTONIO                    VISTA VERDE PLAZA BUILDING 233 N. PECOS LA TRINIDAD SAN ANTONIO TX 78207
EMER. SVC. DIST. 48-EMS/FIRE           21201 MORTON ROAD KATY TX 77449
HARRIS CO. DEPT. OF EDUCATION          1001 PRESTON ST HOUSTON TX 77002
HARRIS CO. FLOOD CTL. DIST.            1001 PRESTON ST HOUSTON TX 77002
HARRIS COUNTY HOSP. DIST.              1001 PRESTON ST HOUSTON TX 77002
HARRIS COUNTY MUD 81                   805 HIDDEN CANYON KATY TX 77450
HARRIS COUNTY TAX OFFICE               1001 PRESTON ST HOUSTON TX 77002
HARRIS COUNTY TAX OFFICE               PO BOX 4663 HOUSTON TX 77210
HOUSTON COMM. COLLEGE SYSTEM           3100 MAIN STREET HOUSTON TX 77002
HOUSTON ISD                            1001 PRESTON ST HOUSTON TX 77002
KATY ISD                               HARRIS CO TAX OFFICE 16715 CLAY ROAD HOUSTON TX 77084
NORTH EAST ISD                         8961 TESORO DRIVE SAN ANTONIO TX 78217
PORT OF HOUSTON                        111 EAST LOOP NORTH HOUSTON TX 77029
SAN ANT. RIVER AUTHORITY               100 E. GUENTHER ST. SAN ANTONIO TX 78204
SOUTHWEST MD/EQUI-TAX, INC             17111 ROLLING CREEK DR STE 200 HOUSTON TX 77090




                                Total Creditor count 22




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3 FROGGS LLC                             ATTN: GUO ZHEN ACCOUNTS PAYABLE 20516 HAWKINS MANOR LN. KATY TX 77449
ALSAFA IMPORTS, INC.                     ATTN: NASSER HITTNEY 873 S. MASON RD., SUITE 304 KATY TX 77450
ASK REVENUE SOLUTIONS LLC                ATTN: SHAUKATALI KADIBHAI 811 SOUTH MASON ROAD, SUITE 160 KATY TX 77450
ASTROTECH SVCS--STILL HAVE CONTRACT      PO BOX 296 NEEDVILLE TX 77461
BLACKSTONE SECURITY                      7211 REGENCY SQUARE BLVD. STE. 102 HOUSTON TX 77036
BRUCE JOHNSON                            ADDRESS ON FILE
CFI MECHANICAL AND SCG                   MECHANICAL , LP, DBA WAY MECHANICAL C/O WILLIAM B. WESTCOTT 1885 SAINT JAMES
                                         PLACE, 15TH FL HOUSTON TX 77056
CFI MECHANICAL, INC.                     6109 BRITTMOORE ROAD HOUSTON TX 77041
COMCAST BUSINESS                         9602 S 300 W, SUITE B SANDY UT 84070
DAVICA ARJOONSINGH                       ADDRESS ON FILE
EL MENE, INC. DBA EINSTEINS'S PUB        ATTN: ACCOUNTS PAYABLE 873 S. MASON RD., SUITE #336 KATY TX 77450
FIRE SAFE PROTECTION SVCS                LESA GIBBENS PO BOX 679873 DALLAS TX 75267
GRAN COLOMBIA RESTAURANTE INC            ACCOUNTS PAYABLE ATTN: LILIANA P. GONZALEZ 7706 SHADY PALMS DR. HOUSTON TX
                                         77095
GRANITE TELECOMMUNICATIONS               100 NEWPORT AVE EXT QUINCY MA 02171
H & S SOUTHWEST LLC                      ACCOUNTS PAYABLE ATTN: SOPHOAN YEM 5138 AVENUE H ROSENBERG TX 77471
JENNIFER L. MOCK                         ADDRESS ON FILE
KAMRAN KHALID                            ADDRESS ON FILE
KATY SAVAGE LLC                          ACCOUNTS PAYABLE ATTN: KAREN HUYNH 4335 MILLERS CREEK LANE MANVEL TX 77578
KOLDPREZZ INC.                           ATTN: ACCOUNTS PAYABLE 829 SOUTH MASON ROAD, SUITE 250 KATY TX 77450
LUSVIC FASHION CORP                      ATTN: LUSVIC AVAB 3106 AYLESWORTH COURT KATY TX 77494
MALAK ALOUM                              ADDRESS ON FILE
MARIA BRIONES                            ADDRESS ON FILE
MARK BEECHER                             ADDRESS ON FILE
MIZ, INC                                 ATTN: ACCOUNTS PAYABLE 10009 HWY 6 SOUTH SUGARLAND TX 77478
NRG - RELIANT                            P.O. BOX 650475 DALLAS TX 75265
OGH SERVICE COMPANY INC                  402 4TH ST. SEALY TX 77474
PROACTIVE LIFESTYLE FITNESS,             LP (SUITE 116), ATTN: DON BORGAL 3710 LAKE VARANO CIRCLE KATY TX 77493
PROACTIVE LIFESTYLE FITNESS, LP          (SUITE 128), ATTN: DON BORGAL 3710 LAKE VARANO CIRCLE KATY TX 77493
REGIONAL FINANCE CORPORATION             OF TEXAS, ANA ZUSMER 979 BATESVILLE RD., SUITE B GREER SC 29651
SEUNG H. YOO                             ADDRESS ON FILE
SIMON NGUYEN                             ADDRESS ON FILE
SOUTHWEST EXTERMINATING                  11023 SOUTHWEST FREEWAY HOUSTON TX 77074
SUMMER ENERGY LLC                        PO BOX 660938 DALLAS TX 75266-0938
TAQUERIA & TORTILLERIA LA REYNA LLC      ACCOUNTS PAYABLE ATTN: JAVIER DIAZ 5710 FONDREN ROAD, SUITE B HOUSTON TX 77036
TCD ENTERPRISES DBA CELLAR DOOR          ATTN: ACCOUNTS PAYABLE 829 S. MASON RD., SUITE 280 KATY TX 77450
TEJAS GROUNDS MAINTENANCE                EDWARD MARTINEZ PO BOX 841288 HOUSTON TX
TEXAS TACTICAL GEAR &                    FIREARMS, INC., ATTN: SAID MABOUMERHI 829 SOUTH MASON ROAD, SUITE 210 KATY TX
                                         77450




                                  Total Creditor count 37




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                                                  Hartman SPE, LLC
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Claim Name                               Address Information
ALINE TRAN & AMY HOANG                   ADDRESS ON FILE
AMIN MOMIN                               ADDRESS ON FILE
ARGELIA ARZATE                           ADDRESS ON FILE
ASTROTECH SERVICES                       ISRAEL DE LEON PO BOX 296 NEEDVILLE TX 77461
AYVAZ PIZZA, LLC                         ATTN: ACCOUNTS PAYABLE 17890 BLANCO RD., SUITE 401 SAN ANTONIO TX 78232
BLACKSTONE SECURITY                      7211 REGENCY SQUARE BLVD., STE. 102 HOUSTON TX 77036
BRIDGES ELECTRIC INC                     15330 LBJ FREEWAY, STE 315 MESQUITE TX 75150
BRUCE JOHNSON                            ADDRESS ON FILE
BUSINESS FLOOR SOLUTIONS INC             5131 STEADMONT DRIVE HOUSTON TX 77040
BUSINESS FLOOR SOLUTIONS INC             5805 CENTRALCREST HOUSTON TX 77092
CFI MECHANICAL AND SCG                   MECHANICAL , LP, DBA WAY MECHANICAL C/O WILLIAM B. WESTCOTT 1885 SAINT JAMES
                                         PLACE, 15TH FL HOUSTON TX 77056
CHP GENERAL CONTRACTING LLC              2020 CORBEL LN. 2311 FORT WORTH TX 76177
CHRIS MOORE                              ADDRESS ON FILE
COMCAST BUSINESS                         9602 S 300 W, SUITE B SANDY UT 84070
DOLLAR TREE STORES, INC.                 MARIBEL ALICEA ATTN LEASE ACCOUNTING DEPT. 300 500 VOLVO PARKWAY CHESAPEAKE VA
                                         23320
DYNAMIC MECHANICAL SOLUTIONS             ATTN: MATTHEW MASHBURN 2023 E. SHADY GROVE ROAD SUITE 5 IRVING TX 75060
EDGE REALTY PARTNERS LLC                 515 POST OAK BLVD., SUITE 175 HOUSTON TX 77027
EMMAUS HEALTH CARE, PLLC                 ATTN: CHERYL JONES 8603 BRETT FORK RICHMOND TX 77406
ESSENTIAL SERVICE MECHANICAL LLC         ATTN: ACCOUNTS PAYABLE 6605 STROUD DR. HOUSTON TX 77074
FITNESS & LIFE CORPORATION, LLC          ACCOUNTS PAYABLE 12101 NORTHPOINTE BLVD.. APT. 6203 TOMBALL TX 77377
IVETTE MATUL                             ADDRESS ON FILE
JOSE S. MENDOZA CUA                      ADDRESS ON FILE
JOSE S. TELLO                            ADDRESS ON FILE
JUAN MARTINEZ                            ADDRESS ON FILE
LEONEL RODRIGUEZ                         ADDRESS ON FILE
MEDCARE RX PHARMACY, INC.                ATTN: ACCOUNTS PAYABLE 7052 BISSONET ST. HOUSTON TX 77074
MONICA E. ALFARO AND                     ADDRESS ON FILE
NKB CORPORATE VENTURES INC               ACCOUNTS PAYABLE 10814 WEST BELLFORT AVENUE HOUSTON TX 77099
PROGREEN LANDSCAPES INC                  REYNALDO ORTIZ PO BOX 1561 ALIEF TX 77411
SAMAR LLC                                ATTN: SARA MARTINEZ 5921 BELLAIRE BOULEVARD, STE. C HOUSTON TX 77081
SCG MECHANICAL LP DBA                    WAY MECHANICAL 8610 WALLISVILLE ROAD HOUSTON TX 77029
SHAJUMON ABRAHAM LIQUOR STORE            ATTN: JOE KURIAKOSE 3311 SELENE DRIVE MISSOURI CITY TX 77459
SOUTHWEST EXTERMINATING                  11023 SOUTHWEST FREEWAY HOUSTON TX 77074
TITAN FITNESS TEXAS, LLC                 ACCOUNTS PAYABLE 2517 MIDWAY ROAD CARROLLTON TX 75006
TONY TO AND SANDY TO                     ADDRESS ON FILE
VECTOR CONCEPTS, INC                     9010 N. ROYAL LN, STE. 110 IRVING TX 75063
WELLS FARGO BANK, N.A.                   WELLS FARGO CPG ATTN: MAC D1116-L10 (BE#109023) 1525 WEST W.T. HARRIS BLVD.
                                         CHARLOTTE NC 28262
WILLIE SAVANNAH                          ADDRESS ON FILE




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CRAIN CATON & JAMES
ATTN PETER SMART
FIVE HOUSTON CENTER
1401 MCKINNEY ST. SUITE 1700
HOUSTON, TX 77010
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SCOTTHULSE PC
ATTN ROBERT R. FEUILLE
201 E. MAIN DR., SUITE 1100
EL PASO, TX 79901
                                                 Hartman SPE, LLC
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Claim Name                              Address Information
ADVANCED TEMPERATURE CONTROL            C/O CHRISTOPHER BUSH P.O. BOX 1126 HELOTES TX 78023
ADVANCED TEMPERATURE CONTROL LLC        PO BOX 1126 HELOTES TX 78023
AJ MONIER SERVICE CO                    1446 N. FLORES ST. SAN ANTONIO TX 78212
EMPIRE ROOFING COMPANIES INC            16311 CENTRAL COMMERCE DR PFLUGERVILLE TX 78660-2034
PRESTONWOOD LANDSCAPE SERVICES          SA, LLC 1366 ROUND TABLE DRIVE DALLAS TX 75247
PRESTONWOOD LANDSCAPE SERVICES          631 N. WW WHITE ROAD SAN ANTONIO TX 78219
PRESTONWOOD LANDSCAPE SERVICES LLC      PO BOX 542466 DALLAS TX 75354
SWADLEY ROOF SYSTEMS LLC                17413 FM 2920, SUITE O TOMBALL TX 77377
SWADLEY ROOF SYSTEMS, LLC               ATTN: MICHAEL SWADLEY 17413 FM 2920 SUITE O TOMBALL TX 77377
TEXAS PARKING LOTS                      231 HWY 46 W BOERNE TX 78006




                                 Total Creditor count 10




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Claim Name                              Address Information
99 CENT ONLY STORE                      ATTN: MATTHEW FERREIRA 4000 EAST UNION PACIFIC AVENUE ATTN: REAL ESTATE
                                        DEPARTMENT #2848 COMMERCE CA 90023
AHAS FOODS INC.                         ATTN: ADIB NADER 5380 WALZEM ROAD SAN ANTONIO TX 78218
ALLIED FIRE CONTROL                     2110 MANNIX DR. SAN ANTONIO TX 78217
AVAIL SECURITY GROUP                    11811 N. FREEWAY STE. 101 HOUSTON TX 70606
CASA DE VIDA INTERNACIONAL              ATTN: EDWIN MALAVE 5480 WALZEM ROAD SAN ANTONIO TX 78218
CENTURY PEST CONTROL                    CHAS ANGELINI 1335 BASSE ROAD SAN ANTONIO TX 78212
CHRISTINA NGUYEN                        ADDRESS ON FILE
CITI TRENDS, INC. #345                  ATTN: ACCOUNTS PAYABLE DEPT. 104 COLEMAN BLVD. SAVANNAH GA 34108-9565
CITY GEAR, LLC                          ACCOUNTS PAYABLE 5438 WALZEM ROAD SAN ANTONIO TX 78218
CPS ENERGY                              PO BOX 2678 SAN ANTONIO TX 78289
DINGLEJERRY KINGDOM                     ATTN: REBECCA GAMSBY 5121 CRESTWAY DRIVE, #505 WINDEREST TX 78239
DUNG CHARLIE TRAN                       ADDRESS ON FILE
ERN MOONEY/ RED WING SHOES              ACCOUNTS PAYABLE 10838 W. TONNE NEW BAUNFELS TX 78130
FOOT LOCKER RETAIL INC.                 (STORE #7417) ACCOUNTS PAYABLE ATTN FACILITIES PAYABLE PO BOX 2943 HARRRISBURG
                                        PA 17105
GAMESTOP #808                           ACCOUNTS PAYABLE 625 WESTPORT PKWY ATTN: PROPERTY ACCOUNTING GRAPEVINE TX
                                        76051-6740
GRANITE TELECOMMUNICATIONS              100 NEWPORT AVE EXT QUINCY MA 02171
HARBOR FREIGHT TOOLS                    TONI BORN ATTN: LEASE ADMINISTRATION 26541 AGOURA ROAD CALABASAS CA 91302
HELLO USA BEAUTY LLC                    ATTN: JOHN K LEE 85 WILLOW STREET WHITLEY HEIGHT NY 11798
HONG HUI XUE                            ADDRESS ON FILE
ISABEL C. ESCUE                         ADDRESS ON FILE
JDC HEALTHCARE MANAGEMENT, LLC          ATTN: ACCOUNTS PAYABLE 3030 LYNDON B JOHNSON FRWY. SUITE 1400 DALLAS TX 75231
JP MORGAN CHASE BANK - ATM              JP MORGAN CHASE LEASE ADMIN MGR 1111 POLARIS PARKWAY MAIL CODE OH1-0241
                                        COLUMBUS OH 43240
KNV INVESTMENTS, INC./JOHNNY KEEFER     ADDRESS ON FILE
LONGHORN LOT MAINTENANCE                5615 BICENTENNIAL, STE. 101 SAN ANTONIO TX 78219
MYUNG LEE                               ADDRESS ON FILE
PRESTONWOOD LANDSCAPE SERVICES          631 N WW WHITE RD. SAN ANTONIO TX 78219
SABLE CONSTRUCTION INC.                 ATTN: JASMINE HERRERA 7320 N. MOPAC STE., 404 AUSTIN TX 78731
SO. TEXAS POWERWASH & STRIPPING INC     DBA TEXAS PARKING LOTS JENNIFER HANSEN 231 STATE HWY 46 WEST BOERNE TX 78006
SOUTH TEXAS PIZZA, INC.                 TREVOR BRAUN ATTN: TJ CLEMENS 1277 NE LOOP 410 SAN ANTONIO TX 78209
SWADLEY ROOF SYSTEMS                    HEIDI MILLER 17413 FM 2920 SUITE O TOMBALL TX 77377
TANDY LEATHER FACTORY INC.              ACCOUNTS PAYABLE ATTN: LEASE ADMINISTRATION 1900 SE LOOP 820 FORT WORTH TX
                                        76140
VIETNAM MARKET/SON TRAN                 SON TRAN 5360 WALZEM ROAD SAN ANTONIO TX 78218
WELLMED MEDICAL MANAGEMENT, INC.        ATTN: MARK FEINBERG 19500 IH-10 WEST MAILSTOP 1-5030 SAN ANTONIO TX 78257
WINGSTOP                                ATTN: ACCOUNTS PAYABLE 510 PORTLAND RD. SAN ANTONIO TX 78216
WINGSTOP - SEE 5410                     ATTN: WINGSTOP - SEE 5410 5405 WALZEM ROAD SAN ANTONIO TX 78218




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                             Hartman SPE, LLC Case No. 23‐11452 (MFW)
                                 Electronic Mail Master Service List
                   Creditor Name                                           Email Address
4M BUILDING SOLUTIONS INC                                info@4-m.com
                                                         plopez@abernathy-law.com;
                                                         bankruptcy@abernathy-law.com;
ABERNATHY, ROEDER, BOYD & HULLET, P.C.                   ehahn@abernathy-law.com
ALL TEX ROOFING LLC                                      tony@alltexroofing
AMAYA CONSTRUCTION INC                                   eamaya@amayaconstructions.com
AMITY CONSTRUCTION COMPANY                               bob@amityconstruction.net
AMTECH ELEVATOR SERVICES                                 nelson.bellesheim@amtechelevator.com
AVAIL SECURITY GROUP, LLC                                info@availsg.com
BUSINESS FLOOR SOLUTIONS INC                             info@bizfloor.biz
CFI MECHANICAL, INC.                                     chuckfell@cfimechanical.com
CRE GROUP, LLC DBA CAPROCK ELECTRIC                      info@caprockelectric.com
DELAWARE DEPARTMENT OF JUSTICE                           attorney.general@delaware.gov
DELAWARE STATE TREASURY                                  liza.davis@delaware.gov
ENGIE RESOURCES LLC                                      engiena-sales1@engie.com
FERGUSON BRASWELL FRASER KUBASTA PC                      rsmiley@fbfk.law

GOLDMAN SACHS                                            michael.dalton@gs.com; newyorkannchub@gs.com

INTERNAL REVENUE SERVICE                                 charles.messing@irs.gov; dennis.moody@irs.gov
IRON HORSE FLOORING LLC DBA PDL DESIGNS                  careers@pdldesigns.com
KAJ CONSTRUCTION INC                                     saleskajconstruction@gmail.com
KAJ CONSTRUCTION INC                                     rkpapatna@gmail.com
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP                   sanantonio.bankruptcy@lgbs.com
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP                   houston_bankruptcy@lgbs.com
LONGHORN MECHANICAL LLC                                  info@longhornmech.net
MATTHEW MASHBURN                                         ADDRESS ON FILE
MIKES AC AND REFRIGERATION                               michaelairhouston@gmail.com
NRG ENERGY INC DBA RELIANT RETAIL SVCS                   solutions@reliant.com; powersupport@nrg.com
NRG ENERGY INC DBA RELIANT RETAIL SVCS                   ryan.harwell@nrg.com
OFFICE OF THE UNITED STATES TRUSTEE                      john.schanne@usdoj.gov
OGH SERVICE COMPANY INC                                  info@oghservices.com
                                                         generalinquiry@otis.com;
OTIS ELEVATOR COMPANY                                    investorrelations@otis.com
PERDUE, BRANDON, FIELDER, COLLINS & MOTT, LLP            emccain@pbfcm.com
PRECISION CONTRACTING                                    info@precisioncontracting.com
                                                         rashworth@pritchardindustries.com;
PRITCHARD INDUSTRIES SOUTHWEST, LLC                      psperduti@pritchardindustries.com
PROMISE TOTAL SERVICES OF HOUSTON INC                    info@promisesvc.com
RL TEAM CONTRACTORS DBA TEAM CONTRACTORS                 jessica@teamcontractorstx.com
ROBINSON & COLE LLP                                      jedmonson@rc.com; kdute@rc.com
SECRETARY OF STATE/DIV OF REVENUE                        dosdoc_ftax@delaware.gov
SECURITIES & EXCHANGE COMMISSION                         commissionerlee@sec.gov
SECURITIES & EXCHANGE COMMISSION                         ocr@sec.gov
                                                         roberto@servicefirstjanitorial.com;
                                                         eva@servicefirstjanitorial.com;
SERVICE FIRST JANITORIAL LLC                             jerry@servicefirstjanitorial.com
STI-GC, LLC                                              bids-sti-gc@southtexasinteriors.com
SUMMER ENERGY LLC                                        service@summerenergy.com
THE UNITED STATES ATTORNEYS OFFICE                       usatxs.atty@usdoj.gov



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                              Electronic Mail Master Service List
                 Creditor Name                                        Email Address
TRUE VINES INC                                        team@truevines.com
VERSATEX COMMERCIAL SERVICES, LLC                     leogomez@blackplanet.com
WEAVER AND TIDWELL LLP                                brad.jay@weaver.com




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                        Electronic Mail Service List ‐ Banks
            Creditor Name                               Email Address
EAST WEST BANK                        Jia.li@eastwestbank.com
EAST WEST BANK                        Maria.Isenhower@eastwestbank.com
KEYBANK NATIONAL ASSOCIATION
(AGENT)                               karen_marie_white@keybank.com
KEYBANK NATIONAL ASSOCIATION
(AGENT)                               michael_a_tilden@keybank.com
KEYBANK NATIONAL ASSOCIATION
(AGENT)                               teresa_sprinkle@keybank.com
TEXAS CAPITAL BANK                    Scott.skrabanek@texascapitalbank.com
TEXAS CAPITAL BANK                    missy.merric@texascapitalbank.com
                                      cmscashmgt@wellsfargo.;
                                      CMSAccountServices@wellsfargo.com;
WELLS FARGO BANK                      EGSCashManagementMailbox@wellsfargo.com




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                    Hartman SPE, LLC Case No. 23‐11452 (MFW)
                    Electronic Mail Service List ‐ UCC Lienholders
             Creditor Name                                 Email Address
AMITY CONSTRUCTION COMPANY                  bobellerd@amityconstruction.net
BLUE HAWK CONSTRUCTION LLC                  info@bluehawkconstruction.com
CRAWFORD ELECTRIC SUPPLY COMPANY,
INC.                                        crawfordonline@crawfordelectricsupply.com
DYNAMIC MECHANICAL SOLUTIONS                info@dmsprofessionals.com
PERFECT SCENTS OF TEXAS                     perfectscentscandles@live.com

PRECISION GENERAL CONTRACTING, LLC          info@PrecisionContracting.com
SWADLEY ROOF SYSTEMS, LLC                   info@swadleyroofsystems.com
TAYLOR WATERPROOFING PLUS, INC.             info@taylorwaterproofing.com
TEXAS SECURITY BANK                         info@TexasSecurityBank.com




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                Hartman SPE, LLC Case No. 23‐11452 (MFW)
               Electronic Mail Service List ‐ Taxing Authorities
            Creditor Name                             Email Address
FORT BEND COUNTY TAX OFFICE                 FBCTaxInfo@fortbendcountytx.gov

STATE OF TEXAS ATTORNEY GENERAL             complaints@oag.texas.gov

STATE OF TEXAS ATTORNEY GENERAL             complaints@oag.texas.gov




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                           Hartman SPE, LLC Case No. 23‐11452 (MFW)
                               Electronic Mail Service List ‐ Mason
Name                                                    Email
3 Froggs LLC                                            zhangeric688@yahoo.com
Alsafa Imports, Inc.                                    Hittiny@att.net
Ask Revenue Solutions LLC                               tshirtsetckaty@gmail.com
Astrotech Svcs                                          astrotechservices@hotmail.com
CFI Mechanicial                                         lauraalford@cfimechanical.com
Davica Arjoonsingh                                      ADDRESS ON FILE

EL Mene, Inc. dba Einsteins's Pub                       krismegan1@gmail.com
Gran Colombia Restaurante Inc                           lilianagonzalez2627@gmail.com
Granite Telecommunications                              custserv@granitenet.com
H & S Southwest LLC                                     sophoanyem@gmail.com
Jennifer L. Mock                                        ADDRESS ON FILE

Kamran Khalid                                           ADDRESS ON FILE

Katy Savage LLC                                         karenthuynh09@gmail.com
Koldprezz Inc.                                          koldprezz@gmail.com
Lusvic Fashion Corp                                     lusvicfashion@gmail.com
Malak Aloum                                             ADDRESS ON FILE

Maria Briones                                           ADDRESS ON FILE

Mark Beecher                                            ADDRESS ON FILE

Miz, Inc                                                payment@lonestarfloors.com
NRG - Reliant                                           solutions@reliant.com
Proactive Lifestyle Fitness, LP (Suite 116)             donnie.b@proactivelifestyle.com
Regional Finance Corporation of Texas                   azusmer1@regionalmanagement.com
Seung H. Yoo                                            ADDRESS ON FILE

Simon Nguyen                                            ADDRESS ON FILE

Taqueria & Tortilleria La Reyna LLC                     javierdiaz7@me.com
TCD Enterprises dba Cellar Door                         ron@cellardoorkaty.com
Texas Tactical Gear & Firearms, Inc.                    said@gunsunlimitedusa.com




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                     Hartman SPE, LLC Case No. 23‐11452 (MFW)
                        Electronic Mail Service List ‐ Fondren
Name                                     Email
Aline Tran & Amy Hoang                   ADDRESS ON FILE

Amin Momin                               ADDRESS ON FILE

Argelia Arzate                           ADDRESS ON FILE

Astrotech Services                       astrotechservices@hotmail.com
Ayvaz Pizza, LLC                         rents@ayvazpizza.com
Chris Moore                              ADDRESS ON FILE

Dollar Tree Stores, Inc.                 tx_rents@dollartree.com
Emmaus Health Care, PLLC                 cjemmaus@yahoo.com
Essential Service Mechanical LLC         csservices55@yahoo.com
Fitness & Life Corporation, LLC          jcmach10@hotmail.com
Ivette Matul                             ADDRESS ON FILE

Jose S. Mendoza Cua                      ADDRESS ON FILE

Jose S. Tello                            ADDRESS ON FILE

Juan Martinez                            ADDRESS ON FILE

Leonel Rodriguez                         ADDRESS ON FILE

Medcare Rx Pharmacy, Inc.                Cristina@medcarerx.net
Monica E. Alfaro and Mario E. Alfaro     ADDRESS ON FILE

NKB Corporate Ventures Inc               management@nkbcricket.com
Samar LLC                                saram@torotaxes.com
Shajumon Abraham Liquor Store            valudiscountliquor@gmail.com
Titan Fitness Texas, LLC                 accountspayable@fitnessconnection.com
Tony To and Sandy To                     ADDRESS ON FILE

Wells Fargo Bank, N.A.                   PropertyAdmin@WellsFargo.com
Willie Savannah                          ADDRESS ON FILE




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                       Hartman SPE, LLC Case No. 23‐11452 (MFW)
                          Electronic Mail Service List ‐ Walzem
Name                                      Email
99 Cent Only Store                        Matthew.Ferreira@99only.com
Ahas Foods Inc.                           Alialsaedi0901@gmail.com
Casa De Vida Internacional                casadevida2019@gmail.com
Century Pest Control                      office@centurypest.com
Christina Nguyen                          ADDRESS ON FILE

Citi Trends, Inc. #345                    apexp@cititrends.com
City Gear, LLC                            Kim.Nixon@hibbett.com
Dinglejerry Kingdom                       Rebecca.Gamsby@HireQuestDirect.com
Dung Charlie Tran                         ADDRESS ON FILE

Ern Mooney/ Red Wing Shoes                ADDRESS ON FILE

Foot Locker Retail Inc. (Store #7417)     NA_Rent@footlocker.com
Gamestop #808                             rentmail@gamestop.com
Granite Telecommunications                custserv@granitenet.com
Harbor Freight Tools                      TBorn@harborfreight.com
Hello USA Beauty LLC                      johnklee0891@gmail.com
Hong Hui Xue                              ADDRESS ON FILE

Isabel C. Escue                           ADDRESS ON FILE

JDC Healthcare Management, LLC            Rent@jdcweb.com
JP Morgan Chase Bank - ATM                lease.administration.research@jpmchase.com
KNV Investments, Inc./Johnny Keefer       ADDRESS ON FILE

Myung Lee                                 ADDRESS ON FILE

Sable Construction Inc.                   jasmine.herrera@customsounds.com
South Texas Pizza, Inc.                   Trevor.Braun@TeamMurph.net
Swadley Roof Systems                      sdr@swadleyroofsystems.com
Tandy Leather Factory Inc.                leaseadmin@tandyleather.com
Texas Parking Lots                        jennifer@texasparkinglots.com
Vietnam Market/Son Tran                   ADDRESS ON FILE

Wellmed Medical Management, Inc.          wellmed.docs@cbre.com
Wingstop                                  ap@sa-wings.com




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